                    Exhibit 27
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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_                           AfterValue_                            Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905533                 2             306895 PWSQL1           11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                                                                  TN0900100            FALSE         FALSE       TRUE
      -2083905527                 2             306895 PWSQL1           11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                                          304958                                 TN0900100            FALSE         FALSE       TRUE
      -2083905526                 2             306895 PWSQL1           11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083902740                 2             306895 TVAUGHN-D        11/8/2019 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083901514                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Investigate                                                   Yes                                    TN0900100            FALSE         FALSE       TRUE
      -2083901513                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Mgmt_Status_Date                                              Nov 8 2019 8:53AM                      TN0900100            FALSE         FALSE       TRUE
      -2083901512                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            FALSE         FALSE       TRUE
      -2083901468                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Folder_Link            223                                    984                                    TN0900100            FALSE         FALSE       TRUE
      -2083901467                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Folder_Number          0005-00001                             0403 00003                             TN0900100            FALSE         FALSE       TRUE
      -2083898590                 2             306895 JC-FQCF9N2       11/8/2019 BRICHARDSON      B                                  RICHARDSON      EDIT          RMS_Case             Case_Description       Forcible Rape - BP                     Forcible Rape - BP   12-8              TN0900100            FALSE         FALSE       TRUE
      -2083874147                 2             306895 SBOWMAN-D      11/11/2019 SBOWMAN           S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083840172                 2             306895 JC-FQCF9N2     11/13/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Case_Description       Forcible Rape - BP   12-8              Forcible Rape - BP   12-8 Statements   TN0900100            FALSE         FALSE       TRUE
      -2083679202                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Case_Description       Forcible Rape - BP   12-8 Statements   Forcible Rape - BP                     TN0900100            FALSE         FALSE       TRUE
      -2083679118                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            FALSE         FALSE       TRUE
      -2083679110                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Folder_Link            984                                    868                                    TN0900100            FALSE         FALSE       TRUE
      -2083679109                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Folder_Number          0403 00003                             0303 00026                             TN0900100            FALSE         FALSE       TRUE
      -2083642530                 2             306895 TVAUGHN-D        12/2/2019 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083625397                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            FALSE         FALSE       TRUE
      -2083625379                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Mgmt_Status_Date       Nov 8 2019 8:53AM                      Dec 3 2019 11:45AM                     TN0900100            FALSE         FALSE       TRUE
      -2083625378                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Case_Closed            0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083625375                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Link            868                                    1948                                   TN0900100            FALSE         FALSE       TRUE
      -2083625374                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Number          0303 00026                             1802-00002                             TN0900100            FALSE         FALSE       TRUE
      -2083624422                 2             306895 JOHNHAMES        12/3/2019 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2071060887                 2             306895 JC-HZ2Q7X2       5/11/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1948                                   1968                                   TN0900100            FALSE         FALSE       TRUE
      -2071060886                 2             306895 JC-HZ2Q7X2       5/11/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1802-00002                             1903-00001                             TN0900100            FALSE         FALSE       TRUE
      -2070645468                 2             306895 JC-HZ2Q7X2       6/27/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1968                                   868                                    TN0900100            FALSE         FALSE       TRUE
      -2070645467                 2             306895 JC-HZ2Q7X2       6/27/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1903-00001                             0303 00026                             TN0900100            FALSE         FALSE       TRUE
      -2070641516                 2             306895 JC-MXL9415LFT    6/28/2023 GWills           G                                  WILLS           EDIT          RMS_Case             Folder_Link            868                                    1761                                   TN0900100            TRUE          FALSE       TRUE
      -2070641515                 2             306895 JC-MXL9415LFT    6/28/2023 GWills           G                                  WILLS           EDIT          RMS_Case             Folder_Number          0303 00026                             1403 00002                             TN0900100            TRUE          FALSE       TRUE
      -2070641514                 2             306895 JC-MXL9415LFT    6/28/2023 GWills           G                                  WILLS           EDIT          RMS_Case             Confidential           0                                      1                                      TN0900100            TRUE          FALSE       TRUE
      -2070566694                 2             306895 JC-MXL94159B6     7/5/2023 MADAMS           M                                  ADAMS           EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            TRUE          FALSE       TRUE
      -2070559013                 2             306895 SBOWMAN-D         7/6/2023 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            TRUE          FALSE       TRUE
      -2070301574                 2             306895 JC-3D2DNW3        8/2/2023 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            TRUE          FALSE       TRUE
      -2070236690                 2             306895 JC-3D2DNW3        8/9/2023 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            TRUE          FALSE       TRUE




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_                  BeforeValue_        AfterValue_           Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905528                 3              304958 PWSQL1              11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident                                         Record Added                              TN0900100            FALSE         FALSE        TRUE
      -2083905525                 3              304958 PWSQL1              11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Date_Status                                     Nov 8 2019 5:25AM     TN0900100            FALSE         FALSE       TRUE
      -2083905524                 3              304958 PWSQL1              11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Rape_Case                   0                   1                     TN0900100            FALSE         FALSE        TRUE
      -2083901466                 3              304958 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Incident             Folder_Link                 223                 984                   TN0900100            FALSE         FALSE       TRUE
      -2083901465                 3              304958 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Incident             Folder_Number               0005-00001          0403 00003            TN0900100            FALSE         FALSE       TRUE
      -2083679179                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Case_Status                                     1                     TN0900100            FALSE         FALSE        TRUE
      -2083679178                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Arrest_Near                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2083679177                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Date_Status                 Nov 8 2019 5:25AM   Nov 27 2019 12:00AM   TN0900100            FALSE         FALSE       TRUE
      -2083679176                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Unknown_Time                                    0                     TN0900100            FALSE         FALSE       TRUE
      -2083679175                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Prints_Found                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2083679174                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Drug_Related                                    0                     TN0900100            FALSE         FALSE       TRUE
      -2083679173                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Family_Violence                                 0                     TN0900100            FALSE         FALSE        TRUE
      -2083679172                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Hate_Motivated                                  0                     TN0900100            FALSE         FALSE       TRUE
      -2083679171                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Assault                                         0                     TN0900100            FALSE         FALSE        TRUE
      -2083679170                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Trtmnt                                          0                     TN0900100            FALSE         FALSE        TRUE
      -2083679169                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Victim_Advised                                  0                     TN0900100            FALSE         FALSE       TRUE
      -2083679168                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Children_Involved                               0                     TN0900100            FALSE         FALSE       TRUE
      -2083679167                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Children_Present                                0                     TN0900100            FALSE         FALSE        TRUE
      -2083679166                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Jail_Prison                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2083679165                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Property_Supplement                             0                     TN0900100            FALSE         FALSE       TRUE
      -2083679164                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Narrative_Supplement                            0                     TN0900100            FALSE         FALSE       TRUE
      -2083679163                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Statements                                      0                     TN0900100            FALSE         FALSE       TRUE
      -2083679162                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Other_Supplement                                0                     TN0900100            FALSE         FALSE       TRUE
      -2083679161                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Investigation                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2083679160                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Intelligence                                    0                     TN0900100            FALSE         FALSE       TRUE
      -2083679159                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Records                                         0                     TN0900100            FALSE         FALSE        TRUE
      -2083679158                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Follow_Up                                       0                     TN0900100            FALSE         FALSE       TRUE
      -2083679157                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Off_Supplement                                  0                     TN0900100            FALSE         FALSE       TRUE
      -2083679156                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Incident                                        0                     TN0900100            FALSE         FALSE        TRUE
      -2083679155                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Offense                                         0                     TN0900100            FALSE         FALSE       TRUE
      -2083679154                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Narr_Juv_Info                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2083679153                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Narr_Wit_Info                                   0                     TN0900100            FALSE         FALSE       TRUE
      -2083679152                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Narr_Evd_Info                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2083679151                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Narr_Veh_Info                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2083679150                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Evidence_Obtained                               0                     TN0900100            FALSE         FALSE       TRUE
      -2083679149                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             serializedproperty                              0                     TN0900100            FALSE         FALSE       TRUE
      -2083679148                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             VehicleStatusIndicator                          0                     TN0900100            FALSE         FALSE        TRUE
      -2083679147                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             GangRelated                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2083679146                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Alcohol_Related                                 0                     TN0900100            FALSE         FALSE        TRUE
      -2083679145                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Child_Related                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2083679144                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Domestic_Violence_Related                       0                     TN0900100            FALSE         FALSE       TRUE
      -2083679143                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Cult_Related                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2083679142                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Traffic_Related                                 0                     TN0900100            FALSE         FALSE       TRUE
      -2083679141                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Alcohol_Factor                                  0                     TN0900100            FALSE         FALSE        TRUE
      -2083679140                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Drug_Factor                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2083679139                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Crimes_Children_Factor                          0                     TN0900100            FALSE         FALSE        TRUE
      -2083679138                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Dom_Violence_Factor                             0                     TN0900100            FALSE         FALSE        TRUE
      -2083679137                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Gang_Factor                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2083679136                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Hate_Factor                                     0                     TN0900100            FALSE         FALSE       TRUE
      -2083679135                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Satanic_Factor                                  0                     TN0900100            FALSE         FALSE        TRUE
      -2083679134                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Traffic_Factor                                  0                     TN0900100            FALSE         FALSE        TRUE
      -2083679133                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             At_or_Near                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2083679132                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             College_University                              0                     TN0900100            FALSE         FALSE        TRUE
      -2083679131                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             ACIC_NCIC                                       0                     TN0900100            FALSE         FALSE        TRUE
      -2083679130                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             GCIC_INQ                                        0                     TN0900100            FALSE         FALSE       TRUE
      -2083679129                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             GCIC_Entry                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2083679128                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Officer_arrived_time        Nov 7 2019 6:00PM                         TN0900100            FALSE         FALSE       TRUE
      -2083679127                 3              304958 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident             Victim_Witness                                  0                     TN0900100            FALSE         FALSE       TRUE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_ DateStamp_ UserID_        UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_         BeforeValue_          AfterValue_          Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083679126                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Suspect_Arrestee                         0                    TN0900100            FALSE         FALSE       TRUE
      -2083679125                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Photographed                             0                    TN0900100            FALSE         FALSE        TRUE
      -2083679124                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Rape_Vrfy                                0                    TN0900100            FALSE         FALSE        TRUE
      -2083679123                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Rape_Trtmnt                              0                    TN0900100            FALSE         FALSE        TRUE
      -2083679122                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Original_Report                          0                    TN0900100            FALSE         FALSE        TRUE
      -2083679121                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Phone_Report                             0                    TN0900100            FALSE         FALSE        TRUE
      -2083679120                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Information_Only                         0                    TN0900100            FALSE         FALSE        TRUE
      -2083679119                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             School_Factor                            0                    TN0900100            FALSE         FALSE       TRUE
      -2083679108                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Folder_Link        984                   868                  TN0900100            FALSE         FALSE       TRUE
      -2083679107                 3              304958 JC-FQCF9N2      11/27/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Incident             Folder_Number      0403 00003            0303 00026           TN0900100            FALSE         FALSE        TRUE
      -2083625398                 3              304958 JC-HYJL7X2        12/3/2019 MGRYDER      M                                  GRYDER          EDIT          Incident             Date_Cleared                             Dec 3 2019 12:00AM   TN0900100            FALSE         FALSE       TRUE
      -2083625373                 3              304958 JC-HYJL7X2        12/3/2019 MGRYDER      M                                  GRYDER          EDIT          Incident             Folder_Link        868                   1948                 TN0900100            FALSE         FALSE        TRUE
      -2083625372                 3              304958 JC-HYJL7X2        12/3/2019 MGRYDER      M                                  GRYDER          EDIT          Incident             Folder_Number      0303 00026            1802-00002           TN0900100            FALSE         FALSE       TRUE
      -2074192281                 3              304958 JC-D063DV2        6/30/2022 DHILTON      D                                  HILTON          Printed       Incident                                                      Report Printed       TN0900100            FALSE         FALSE       FALSE
      -2074151782                 3              304958 JC-FLPDDV2         7/5/2022 KPETERS      K                                  PETERS          Printed       Incident                                                      Report Printed       TN0900100            FALSE         FALSE       FALSE
      -2074148344                 3              304958 JC-8XMXN23         7/5/2022 JHAMES       J                                  HAMES           Viewed        Incident                                                      Report Viewed        TN0900100            FALSE         FALSE       FALSE
      -2074129155                 3              304958 JC-FLPDDV2         7/7/2022 KPETERS      K                                  PETERS          Printed       Incident                                                      Report Printed       TN0900100            FALSE         FALSE       FALSE
      -2071060885                 3              304958 JC-HZ2Q7X2        5/11/2023 TSPARKS      T                                  SPARKS          EDIT          Incident             Folder_Link        1948                  1968                 TN0900100            FALSE         FALSE        TRUE
      -2071060884                 3              304958 JC-HZ2Q7X2        5/11/2023 TSPARKS      T                                  SPARKS          EDIT          Incident             Folder_Number      1802-00002            1903-00001           TN0900100            FALSE         FALSE        TRUE
      -2070645466                 3              304958 JC-HZ2Q7X2        6/27/2023 TSPARKS      T                                  SPARKS          EDIT          Incident             Folder_Link        1968                  868                  TN0900100            FALSE         FALSE        TRUE
      -2070645465                 3              304958 JC-HZ2Q7X2        6/27/2023 TSPARKS      T                                  SPARKS          EDIT          Incident             Folder_Number      1903-00001            0303 00026           TN0900100            FALSE         FALSE        TRUE
      -2070641513                 3              304958 JC-MXL9415LFT     6/28/2023 GWills       G                                  WILLS           EDIT          Incident             Folder_Link        868                   1761                 TN0900100            TRUE          FALSE        TRUE
      -2070641512                 3              304958 JC-MXL9415LFT     6/28/2023 GWills       G                                  WILLS           EDIT          Incident             Folder_Number      0303 00026            1403 00002           TN0900100            TRUE          FALSE       TRUE
      -2070641511                 3              304958 JC-MXL9415LFT     6/28/2023 GWills       G                                  WILLS           EDIT          Incident             Confidential       0                     1                    TN0900100            TRUE          FALSE       TRUE
      -2070566697                 3              304958 JC-MXL94159B6      7/5/2023 MADAMS       M                                  ADAMS           EDIT          Incident             Case_Status        1                     G                    TN0900100            TRUE          FALSE       TRUE
      -2070566696                 3              304958 JC-MXL94159B6      7/5/2023 MADAMS       M                                  ADAMS           EDIT          Incident             Case_Disposition                         0                    TN0900100            TRUE          FALSE        TRUE
      -2070566695                 3              304958 JC-MXL94159B6      7/5/2023 MADAMS       M                                  ADAMS           EDIT          Incident             Date_Status        Nov 27 2019 12:00AM   Jul 5 2023 12:00AM   TN0900100            TRUE          FALSE       TRUE
      -2070301575                 3              304958 JC-3D2DNW3         8/2/2023 SBOWMAN      S                                  BOWMAN          EDIT          Incident             Date_Cleared       Dec 3 2019 12:00AM                         TN0900100            TRUE          FALSE       TRUE




                                                                         Case 2:23-cv-00071-TRM-JEM Document 235-28 Filed 06/28/24 Page 6 of 28 PageID #:
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                     OFFENSE




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                                    6612
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905523                 8             373682 PWSQL1             11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     Rape_Case       0              1             TN0900100            FALSE         FALSE       TRUE
      -2083905522                 8             373682 PWSQL1             11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     UCR_Hierarchy   2                            TN0900100            FALSE         FALSE       TRUE
      -2083905521                 8             373682 PWSQL1             11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Offense                     Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2083901458                 8             373682 MHOWELL-D          11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Incident_Offense     Folder_Link     223            984           TN0900100            FALSE         FALSE       TRUE
      -2083901457                 8             373682 MHOWELL-D          11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Incident_Offense     Folder_Number   0005-00001     0403 00003    TN0900100            FALSE         FALSE       TRUE
      -2083679100                 8             373682 JC-FQCF9N2       11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident_Offense     Folder_Link     984            868           TN0900100            FALSE         FALSE       TRUE
      -2083679099                 8             373682 JC-FQCF9N2       11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident_Offense     Folder_Number   0403 00003     0303 00026    TN0900100            FALSE         FALSE       TRUE
      -2083625365                 8             373682 JC-HYJL7X2         12/3/2019 MGRYDER          M                                  GRYDER          EDIT          Incident_Offense     Folder_Link     868            1948          TN0900100            FALSE         FALSE       TRUE
      -2083625364                 8             373682 JC-HYJL7X2         12/3/2019 MGRYDER          M                                  GRYDER          EDIT          Incident_Offense     Folder_Number   0303 00026     1802-00002    TN0900100            FALSE         FALSE       TRUE
      -2071060877                 8             373682 JC-HZ2Q7X2         5/11/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Offense     Folder_Link     1948           1968          TN0900100            FALSE         FALSE       TRUE
      -2071060876                 8             373682 JC-HZ2Q7X2         5/11/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Offense     Folder_Number   1802-00002     1903-00001    TN0900100            FALSE         FALSE       TRUE
      -2070645458                 8             373682 JC-HZ2Q7X2         6/27/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Offense     Folder_Link     1968           868           TN0900100            FALSE         FALSE       TRUE
      -2070645457                 8             373682 JC-HZ2Q7X2         6/27/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Offense     Folder_Number   1903-00001     0303 00026    TN0900100            FALSE         FALSE       TRUE
      -2070641501                 8             373682 JC-MXL9415LFT      6/28/2023 GWills           G                                  WILLS           EDIT          Incident_Offense     Folder_Link     868            1761          TN0900100            TRUE          FALSE       TRUE
      -2070641500                 8             373682 JC-MXL9415LFT      6/28/2023 GWills           G                                  WILLS           EDIT          Incident_Offense     Folder_Number   0303 00026     1403 00002    TN0900100            TRUE          FALSE       TRUE
      -2070641499                 8             373682 JC-MXL9415LFT      6/28/2023 GWills           G                                  WILLS           EDIT          Incident_Offense     Confidential    0              1             TN0900100            TRUE          FALSE       TRUE




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                      INCIDENT NARRATIVE




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                                    6614
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_    DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905454                 40            695995 PWSQL1              11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2083905453                 40            695995 PWSQL1              11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2083903498                 40            695995 EVIDENCEROOM-A      11/8/2019 SDYKES           S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2083901569                 40            695995 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2083901500                 40            695995 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083901499                 40            695995 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083901496                 40            695995 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083901456                 40            695995 MHOWELL-D           11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Narrative            Source_Module_Link   223            984                TN0900100            FALSE         FALSE       TRUE
      -2083898672                 40            695995 JC-FQCF9N2          11/8/2019 BRICHARDSON      B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2083898595                 40            695995 JC-FQCF9N2          11/8/2019 BRICHARDSON      B                                  RICHARDSON      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083840182                 40            695995 JC-FQCF9N2        11/13/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083679309                 40            695995 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083679200                 40            695995 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083679199                 40            695995 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083679194                 40            695995 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083679098                 40            695995 JC-FQCF9N2        11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Narrative            Source_Module_Link   984            868                TN0900100            FALSE         FALSE       TRUE
      -2083625391                 40            695995 JC-HYJL7X2          12/3/2019 MGRYDER          M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083625390                 40            695995 JC-HYJL7X2          12/3/2019 MGRYDER          M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083625385                 40            695995 JC-HYJL7X2          12/3/2019 MGRYDER          M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2083625363                 40            695995 JC-HYJL7X2          12/3/2019 MGRYDER          M                                  GRYDER          EDIT          Narrative            Source_Module_Link   868            1948               TN0900100            FALSE         FALSE       TRUE
      -2083458431                 40            695995 SBOWMAN-D         12/17/2019 SBOWMAN           S                                  BOWMAN          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081709552                 40            695995 JC-FLPDDV2           6/9/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072047674                 40            695995 JC-HL6MQG2           2/1/2023 SDYKES           S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072047669                 40            695995 JC-HL6MQG2           2/1/2023 SDYKES           S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071060899                 40            695995 JC-HZ2Q7X2          5/11/2023 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071060898                 40            695995 JC-HZ2Q7X2          5/11/2023 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071060891                 40            695995 JC-HZ2Q7X2          5/11/2023 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071060875                 40            695995 JC-HZ2Q7X2          5/11/2023 TSPARKS          T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1948           1968               TN0900100            FALSE         FALSE       TRUE
      -2070645480                 40            695995 JC-HZ2Q7X2          6/27/2023 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2070645479                 40            695995 JC-HZ2Q7X2          6/27/2023 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2070645472                 40            695995 JC-HZ2Q7X2          6/27/2023 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2070645456                 40            695995 JC-HZ2Q7X2          6/27/2023 TSPARKS          T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1968           868                TN0900100            FALSE         FALSE       TRUE
      -2070641528                 40            695995 JC-MXL9415LFT       6/28/2023 GWills           G                                  WILLS           EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2070641527                 40            695995 JC-MXL9415LFT       6/28/2023 GWills           G                                  WILLS           EDIT          NARRATIVE                                                                   TN0900100            TRUE          FALSE       TRUE
      -2070641520                 40            695995 JC-MXL9415LFT       6/28/2023 GWills           G                                  WILLS           EDIT          NARRATIVE                                                                   TN0900100            TRUE          FALSE       TRUE
      -2070641498                 40            695995 JC-MXL9415LFT       6/28/2023 GWills           G                                  WILLS           EDIT          Narrative            Source_Module_Link   868            1761               TN0900100            TRUE          FALSE       TRUE
      -2070641497                 40            695995 JC-MXL9415LFT       6/28/2023 GWills           G                                  WILLS           EDIT          Narrative            Confidential         0              1                  TN0900100            TRUE          FALSE       TRUE
      -2068208572                 40            695995 JC-HL6MQG2          3/12/2024 SDYKES           S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2068126244                 40            695995 JC-MXL94159B6       3/21/2024 MADAMS           M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE




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                         NAMES




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                                     6616
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905504                 4             781845 PWSQL1             11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Name                        Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2083901464                 4             781845 MHOWELL-D          11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Incident_Name        Folder_Link     223            984           TN0900100            FALSE         FALSE       TRUE
      -2083901463                 4             781845 MHOWELL-D          11/8/2019 MHOWELL          M                                  HOWELL          EDIT          Incident_Name        Folder_Number   0005-00001     0403 00003    TN0900100            FALSE         FALSE       TRUE
      -2083679106                 4             781845 JC-FQCF9N2       11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident_Name        Folder_Link     984            868           TN0900100            FALSE         FALSE       TRUE
      -2083679105                 4             781845 JC-FQCF9N2       11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          Incident_Name        Folder_Number   0403 00003     0303 00026    TN0900100            FALSE         FALSE       TRUE
      -2083625371                 4             781845 JC-HYJL7X2         12/3/2019 MGRYDER          M                                  GRYDER          EDIT          Incident_Name        Folder_Link     868            1948          TN0900100            FALSE         FALSE       TRUE
      -2083625370                 4             781845 JC-HYJL7X2         12/3/2019 MGRYDER          M                                  GRYDER          EDIT          Incident_Name        Folder_Number   0303 00026     1802-00002    TN0900100            FALSE         FALSE       TRUE
      -2071060883                 4             781845 JC-HZ2Q7X2         5/11/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Name        Folder_Link     1948           1968          TN0900100            FALSE         FALSE       TRUE
      -2071060882                 4             781845 JC-HZ2Q7X2         5/11/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Name        Folder_Number   1802-00002     1903-00001    TN0900100            FALSE         FALSE       TRUE
      -2070645464                 4             781845 JC-HZ2Q7X2         6/27/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Name        Folder_Link     1968           868           TN0900100            FALSE         FALSE       TRUE
      -2070645463                 4             781845 JC-HZ2Q7X2         6/27/2023 TSPARKS          T                                  SPARKS          EDIT          Incident_Name        Folder_Number   1903-00001     0303 00026    TN0900100            FALSE         FALSE       TRUE
      -2070641510                 4             781845 JC-MXL9415LFT      6/28/2023 GWills           G                                  WILLS           EDIT          Incident_Name        Folder_Link     868            1761          TN0900100            TRUE          FALSE       TRUE
      -2070641509                 4             781845 JC-MXL9415LFT      6/28/2023 GWills           G                                  WILLS           EDIT          Incident_Name        Folder_Number   0303 00026     1403 00002    TN0900100            TRUE          FALSE       TRUE
      -2070641508                 4             781845 JC-MXL9415LFT      6/28/2023 GWills           G                                  WILLS           EDIT          Incident_Name        Confidential    0              1             TN0900100            TRUE          FALSE       TRUE




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            CASE MANAGEMENT




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                                     6618
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_                           AfterValue_                            Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905533                 2             306895 PWSQL1           11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                                                                  TN0900100            FALSE         FALSE       TRUE
      -2083905527                 2             306895 PWSQL1           11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                                          304958                                 TN0900100            FALSE         FALSE       TRUE
      -2083905526                 2             306895 PWSQL1           11/8/2019 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083902740                 2             306895 TVAUGHN-D        11/8/2019 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083901514                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Investigate                                                   Yes                                    TN0900100            FALSE         FALSE       TRUE
      -2083901513                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Mgmt_Status_Date                                              Nov 8 2019 8:53AM                      TN0900100            FALSE         FALSE       TRUE
      -2083901512                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            FALSE         FALSE       TRUE
      -2083901468                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Folder_Link            223                                    984                                    TN0900100            FALSE         FALSE       TRUE
      -2083901467                 2             306895 MHOWELL-D        11/8/2019 MHOWELL          M                                  HOWELL          EDIT          RMS_Case             Folder_Number          0005-00001                             0403 00003                             TN0900100            FALSE         FALSE       TRUE
      -2083898590                 2             306895 JC-FQCF9N2       11/8/2019 BRICHARDSON      B                                  RICHARDSON      EDIT          RMS_Case             Case_Description       Forcible Rape - BP                     Forcible Rape - BP   12-8              TN0900100            FALSE         FALSE       TRUE
      -2083874147                 2             306895 SBOWMAN-D      11/11/2019 SBOWMAN           S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083840172                 2             306895 JC-FQCF9N2     11/13/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Case_Description       Forcible Rape -BP    12-8              Forcible Rape - BP   12-8 Statements   TN0900100            FALSE         FALSE       TRUE
      -2083679202                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Case_Description       Forcible Rape -BP    12-8 Statements   Forcible Rape - BP                     TN0900100            FALSE         FALSE       TRUE
      -2083679118                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            FALSE         FALSE       TRUE
      -2083679110                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Folder_Link            984                                    868                                    TN0900100            FALSE         FALSE       TRUE
      -2083679109                 2             306895 JC-FQCF9N2     11/27/2019 BRICHARDSON       B                                  RICHARDSON      EDIT          RMS_Case             Folder_Number          0403 00003                             0303 00026                             TN0900100            FALSE         FALSE       TRUE
      -2083642530                 2             306895 TVAUGHN-D        12/2/2019 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083625397                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            FALSE         FALSE       TRUE
      -2083625379                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Mgmt_Status_Date       Nov 8 2019 8:53AM                      Dec 3 2019 11:45AM                     TN0900100            FALSE         FALSE       TRUE
      -2083625378                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Case_Closed            0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2083625375                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Link            868                                    1948                                   TN0900100            FALSE         FALSE       TRUE
      -2083625374                 2             306895 JC-HYJL7X2       12/3/2019 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Number          0303 00026                             1802-00002                             TN0900100            FALSE         FALSE       TRUE
      -2083624422                 2             306895 JOHNHAMES        12/3/2019 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            FALSE         FALSE       TRUE
      -2071060887                 2             306895 JC-HZ2Q7X2       5/11/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1948                                   1968                                   TN0900100            FALSE         FALSE       TRUE
      -2071060886                 2             306895 JC-HZ2Q7X2       5/11/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1802-00002                             1903-00001                             TN0900100            FALSE         FALSE       TRUE
      -2070645468                 2             306895 JC-HZ2Q7X2       6/27/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1968                                   868                                    TN0900100            FALSE         FALSE       TRUE
      -2070645467                 2             306895 JC-HZ2Q7X2       6/27/2023 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1903-00001                             0303 00026                             TN0900100            FALSE         FALSE       TRUE
      -2070641516                 2             306895 JC-MXL9415LFT    6/28/2023 GWills           G                                  WILLS           EDIT          RMS_Case             Folder_Link            868                                    1761                                   TN0900100            TRUE          FALSE       TRUE
      -2070641515                 2             306895 JC-MXL9415LFT    6/28/2023 GWills           G                                  WILLS           EDIT          RMS_Case             Folder_Number          0303 00026                             1403 00002                             TN0900100            TRUE          FALSE       TRUE
      -2070641514                 2             306895 JC-MXL9415LFT    6/28/2023 GWills           G                                  WILLS           EDIT          RMS_Case             Confidential           0                                      1                                      TN0900100            TRUE          FALSE       TRUE
      -2070566694                 2             306895 JC-MXL94159B6     7/5/2023 MADAMS           M                                  ADAMS           EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            TRUE          FALSE       TRUE
      -2070559013                 2             306895 SBOWMAN-D         7/6/2023 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            TRUE          FALSE       TRUE
      -2070301574                 2             306895 JC-3D2DNW3        8/2/2023 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              1                                      0                                      TN0900100            TRUE          FALSE       TRUE
      -2070236690                 2             306895 JC-3D2DNW3        8/9/2023 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                      1                                      TN0900100            TRUE          FALSE       TRUE




                                                                                 Case 2:23-cv-00071-TRM-JEM Document 235-28 Filed 06/28/24 Page 14 of 28 PageID #:
                                                                                                                      6619
        MAIN NARRATIVE CASE NOTES




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                                     6620
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_ UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_ BeforeValue_    AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083905452                 40            695996 PWSQL1          11/8/2019 WATSONINCIDENT
                                                                                          WATSON                           INCIDENT        EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                          388            223           TN0900100            FALSE        FALSE        TRUE
      -2083905451                 40            695996 PWSQL1          11/8/2019 WATSONINCIDENT
                                                                                          WATSON                           INCIDENT        Add           Narrative                        Record Added                 TN0900100            FALSE        FALSE        TRUE
      -2083903494                 40            695996 EVIDENCEROOM-A 11/8/2019 SDYKES S                                   DYKES           Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083901498                 40            695996 MHOWELL-D       11/8/2019 MHOWELLM                                  HOWELL          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083901497                 40            695996 MHOWELL-D       11/8/2019 MHOWELLM                                  HOWELL          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083901495                 40            695996 MHOWELL-D       11/8/2019 MHOWELLM                                  HOWELL          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083901451                 40            695996 MHOWELL-D       11/8/2019 MHOWELLM                                  HOWELL          EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                          223            984           TN0900100            FALSE        FALSE        TRUE
      -2083898786                 40            695996 JC-FQCF9N2      11/8/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083898671                 40            695996 JC-FQCF9N2      11/8/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083898667                 40            695996 JC-FQCF9N2      11/8/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083898594                 40            695996 JC-FQCF9N2      11/8/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083896911                 40            695996 JC-FQCF9N2      11/8/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083845311                 40            695996 JC-HYJL7X2     11/13/2019 MGRYDERM                                  GRYDER          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083843966                 40            695996 JC-FQCF9N2     11/13/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083841625                 40            695996 JC-FQCF9N2     11/13/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083841261                 40            695996 JC-FQCF9N2     11/13/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083840832                 40            695996 JC-FQCF9N2     11/13/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083840181                 40            695996 JC-FQCF9N2     11/13/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083834086                 40            695996 JC-FQCF9N2     11/14/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083833544                 40            695996 JC-FQCF9N2     11/14/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083828544                 40            695996 JC-FQCF9N2     11/14/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083828507                 40            695996 JC-FQCF9N2     11/14/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083815352                 40            695996 JC-FQCF9N2     11/15/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083744099                 40            695996 JC-HYJL7X2     11/21/2019 MGRYDERM                                  GRYDER          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083681335                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083679621                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083679308                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083679198                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083679196                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083679193                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083679093                 40            695996 JC-FQCF9N2     11/27/2019 BRICHARDSON
                                                                                          B                                RICHARDSON      EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                          984            868           TN0900100            FALSE        FALSE        TRUE
      -2083625577                 40            695996 JC-HYJL7X2      12/3/2019 MGRYDERM                                  GRYDER          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2083625389                 40            695996 JC-HYJL7X2      12/3/2019 MGRYDERM                                  GRYDER          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083625387                 40            695996 JC-HYJL7X2      12/3/2019 MGRYDERM                                  GRYDER          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083625384                 40            695996 JC-HYJL7X2      12/3/2019 MGRYDERM                                  GRYDER          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2083625358                 40            695996 JC-HYJL7X2      12/3/2019 MGRYDERM                                  GRYDER          EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                          868            1948          TN0900100            FALSE        FALSE        TRUE
      -2083458430                 40            695996 SBOWMAN-D      12/17/2019 SBOWMAN  S                                BOWMAN          EDIT          NARRATIVE                                                     TN0900100            FALSE        FALSE        TRUE
      -2081781094                 40            695996 JC-8XMXN23        6/2/2020 JHAMES J                                 HAMES           Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2081709551                 40            695996 JC-FLPDDV2        6/9/2020 KPETERS K                                PETERS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2081566811                 40            695996 JC-D063DV2      6/24/2020 DHILTON D                                 HILTON          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2080051850                 40            695996 JC-HZ2Q7X2     11/30/2020 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078999870                 40            695996 JC-D063DV2      3/24/2021 DHILTON D                                 HILTON          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078989274                 40            695996 JC-HZ2Q7X2      3/25/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078989236                 40            695996 JC-HZ2Q7X2      3/25/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078989209                 40            695996 JC-HZ2Q7X2      3/25/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078989004                 40            695996 JC-HZ2Q7X2      3/25/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078818781                 40            695996 JC-HZ2Q7X2      4/13/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078720597                 40            695996 JC-HZ2Q7X2      4/22/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078719483                 40            695996 JC-HZ2Q7X2      4/22/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE
      -2078719481                 40            695996 JC-HZ2Q7X2      4/22/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                       Narrative Viewed
                                                                                                                                                                                                                       TN0900100            FALSE        FALSE        FALSE



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                                                                                                   6621
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_ UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_ Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2078719210                 40            695996 JC-HZ2Q7X2      4/22/2021 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074192280                 40            695996 JC-D063DV2      6/30/2022 DHILTON D                                 HILTON          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074153116                 40            695996 JC-5Y0CHQ2        7/5/2022 DTALLMADGE
                                                                                          D                                TALLMADGE       Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074152337                 40            695996 JC-HL6MQG2        7/5/2022 SDYKES S                                 DYKES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074151781                 40            695996 JC-FLPDDV2        7/5/2022 KPETERS K                                PETERS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074151780                 40            695996 JC-FLPDDV2        7/5/2022 KPETERS K                                PETERS          Printed       Narrative                                        Narrative Printed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074149986                 40            695996 JC-D063DV2        7/5/2022 DHILTON D                                HILTON          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074149686                 40            695996 JC-HZ2Q7X2        7/5/2022 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074149224                 40            695996 JC-HZ2Q7X2        7/5/2022 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074148801                 40            695996 JC-HZ2Q7X2        7/5/2022 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074148453                 40            695996 JC-8XMXN23        7/5/2022 JHAMES J                                 HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074148370                 40            695996 JC-8XMXN23        7/5/2022 JHAMES J                                 HAMES           Printed       Narrative                                        Narrative Printed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074148167                 40            695996 JC-D063DV2        7/5/2022 DHILTON D                                HILTON          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074129154                 40            695996 JC-FLPDDV2        7/7/2022 KPETERS K                                PETERS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2074129153                 40            695996 JC-FLPDDV2        7/7/2022 KPETERS K                                PETERS          Printed       Narrative                                        Narrative Printed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2073997574                 40            695996 JC-MXL94159CF   7/20/2022 DSHEPARDD                                 SHEPARD         Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072596794                 40            695996 JC-MXL9415FKT   12/7/2022 rpatsel Rebecca                           Patsel          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072591830                 40            695996 SBOWMAN-D       12/7/2022 SBOWMAN  S                                BOWMAN          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072277151                 40            695996 JC-8XMXN23      1/12/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072275538                 40            695996 JC-FLPDDV2      1/12/2023 KPETERS K                                 PETERS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072251247                 40            695996 JC-8XMXN23      1/14/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072235971                 40            695996 JC-8XMXN23      1/17/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072235703                 40            695996 JC-8XMXN23      1/17/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072234496                 40            695996 JC-HZ2Q7X2      1/17/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072207553                 40            695996 JC-8XMXN23      1/19/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072207551                 40            695996 JC-8XMXN23      1/19/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072057844                 40            695996 JC-8XMXN23      1/31/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072055985                 40            695996 JC-FLPDDV2      1/31/2023 KPETERS K                                 PETERS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072055550                 40            695996 JC-8XMXN23      1/31/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072055240                 40            695996 JC-2TH34Z2      1/31/2023 dbible Dawn                               Bible           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072047673                 40            695996 JC-8XMXN23        2/1/2023 JHAMES J                                 HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072047668                 40            695996 JC-HL6MQG2        2/1/2023 SDYKES S                                 DYKES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072045233                 40            695996 JC-FLPDDV2        2/1/2023 KPETERS K                                PETERS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2072045126                 40            695996 JC-8XMXN23        2/1/2023 JHAMES J                                 HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071984666                 40            695996 JC-HZ2Q7X2        2/7/2023 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071062761                 40            695996 JC-MXL94159CV   5/11/2023 SPROFFITTS                                PROFFITT        Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071061363                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071061357                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071060897                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2071060894                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2071060890                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2071060870                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                          1948            1968           TN0900100         FALSE        FALSE        TRUE
      -2071060865                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071057864                 40            695996 JC-HZ2Q7X2      5/11/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071024946                 40            695996 JC-HZ2Q7X2      5/16/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071024853                 40            695996 JC-HZ2Q7X2      5/16/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071024126                 40            695996 JC-HZ2Q7X2      5/16/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071018516                 40            695996 JC-HZ2Q7X2      5/17/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071018213                 40            695996 JC-D063DV2      5/17/2023 MGRYDERM                                  GRYDER          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071016329                 40            695996 JC-HZ2Q7X2      5/17/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_ UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_ Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2071008010                 40            695996 JC-HZ2Q7X2      5/18/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071007973                 40            695996 JC-HZ2Q7X2      5/18/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071007963                 40            695996 JC-HZ2Q7X2      5/18/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2071006623                 40            695996 JC-HZ2Q7X2      5/18/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070970263                 40            695996 JC-HZ2Q7X2      5/23/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070916671                 40            695996 JC-HZ2Q7X2      5/30/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070910023                 40            695996 JC-HZ2Q7X2      5/30/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070902641                 40            695996 JC-HZ2Q7X2      5/31/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070894563                 40            695996 JC-HZ2Q7X2      5/31/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070882081                 40            695996 JC-HZ2Q7X2        6/1/2023 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070879450                 40            695996 JC-HZ2Q7X2        6/1/2023 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070854205                 40            695996 JC-HZ2Q7X2        6/5/2023 GWills G                                 WILLS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070802059                 40            695996 JC-HZ2Q7X2      6/12/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070802052                 40            695996 JC-HZ2Q7X2      6/12/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070796358                 40            695996 JC-HZ2Q7X2      6/12/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070786565                 40            695996 JC-HZ2Q7X2      6/13/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070771056                 40            695996 JC-HZ2Q7X2      6/14/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070698540                 40            695996 JC-HZ2Q7X2      6/22/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070698031                 40            695996 JC-MXL9415LFT   6/22/2023 GWills G                                  WILLS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070654176                 40            695996 JC-HZ2Q7X2      6/26/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070645478                 40            695996 JC-HZ2Q7X2      6/27/2023 TSPARKS T                                 SPARKS          EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2070645475                 40            695996 JC-HZ2Q7X2      6/27/2023 TSPARKS T                                 SPARKS          EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2070645471                 40            695996 JC-HZ2Q7X2      6/27/2023 TSPARKS T                                 SPARKS          EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2070645451                 40            695996 JC-HZ2Q7X2      6/27/2023 TSPARKS T                                 SPARKS          EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                          1968            868            TN0900100         FALSE        FALSE        TRUE
      -2070641532                 40            695996 JC-MXL9415LFT   6/28/2023 GWills G                                  WILLS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070641526                 40            695996 JC-MXL9415LFT   6/28/2023 GWills G                                  WILLS           EDIT          NARRATIVE                                                       TN0900100         FALSE        FALSE        TRUE
      -2070641523                 40            695996 JC-MXL9415LFT   6/28/2023 GWills G                                  WILLS           EDIT          NARRATIVE                                                       TN0900100         TRUE         FALSE        TRUE
      -2070641519                 40            695996 JC-MXL9415LFT   6/28/2023 GWills G                                  WILLS           EDIT          NARRATIVE                                                       TN0900100         TRUE         FALSE        TRUE
      -2070641490                 40            695996 JC-MXL9415LFT   6/28/2023 GWills G                                  WILLS           EDIT          Narrative            Confidential 0              1              TN0900100         TRUE         FALSE        TRUE
      -2070641487                 40            695996 JC-MXL9415LFT   6/28/2023 GWills G                                  WILLS           EDIT          Narrative            Source_Module_Link
                                                                                                                                                                                           868            1761           TN0900100         TRUE         FALSE        TRUE
      -2070566821                 40            695996 JC-MXL94159B6     7/5/2023 MADAMSM                                  ADAMS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070556978                 40            695996 SBOWMAN-D         7/6/2023 SBOWMAN S                                BOWMAN          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070469955                 40            695996 JC-FFZ26X3      7/15/2023 MHOLLIS M                                 HOLLIS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070301594                 40            695996 JC-3D2DNW3        8/2/2023 SBOWMAN S                                BOWMAN          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070244923                 40            695996 JC-HZ2Q7X2        8/8/2023 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070244389                 40            695996 JC-HZ2Q7X2        8/8/2023 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070244321                 40            695996 JC-HZ2Q7X2        8/8/2023 TSPARKS T                                SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070165890                 40            695996 JC-HZ2Q7X2      8/17/2023 TSPARKS T                                 SPARKS          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070114196                 40            695996 JC-MXL94159B6   8/22/2023 MADAMSM                                   ADAMS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2070110516                 40            695996 JC-MXL94159B6   8/23/2023 MADAMSM                                   ADAMS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2069900560                 40            695996 JC-2TH34Z2      9/13/2023 dbible Dawn                               Bible           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2069042911                 40            695996 JC-8XMXN23     12/13/2023 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068269870                 40            695996 JC-MXL9415LFT     3/5/2024 GWills G                                 WILLS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068218992                 40            695996 JC-8XMXN23      3/11/2024 JHAMES J                                  HAMES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068209261                 40            695996 JC-3D2DNW3      3/12/2024 SBOWMAN  S                                BOWMAN          Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068208571                 40            695996 JC-HL6MQG2      3/12/2024 SDYKES S                                  DYKES           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068129948                 40            695996 JC-MXL94159B6   3/21/2024 MADAMSM                                   ADAMS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068129651                 40            695996 JC-MXL94159B6   3/21/2024 MADAMSM                                   ADAMS           Printed       Narrative                                        Narrative Printed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE
      -2068126012                 40            695996 JC-MXL94159B6   3/21/2024 MADAMSM                                   ADAMS           Viewed        Narrative                                        Narrative Viewed
                                                                                                                                                                                                                         TN0900100         FALSE        FALSE        FALSE




                                                              Case 2:23-cv-00071-TRM-JEM Document 235-28 Filed 06/28/24 Page 18 of 28 PageID #:
                                                                                                   6623
                 B RICHARDSON CASE NOTES




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                                     6624
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_         UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2083898670                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083898669                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          Narrative            Source_Module_Link                  984                 TN0900100            FALSE        FALSE        TRUE
      -2083898668                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      Add           Narrative                                 Record Added                       TN0900100            FALSE        FALSE        TRUE
      -2083898666                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083898660                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083898597                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083898596                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2083898593                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083896910                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083896909                 40            696048 JC-FQCF9N2         11/8/2019 BRICHARDSON   B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083845306                 40            696048 JC-HYJL7X2       11/13/2019 MGRYDER        M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083845305                 40            696048 JC-HYJL7X2       11/13/2019 MGRYDER        M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083843965                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083843964                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083841624                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083841622                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083841260                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083841173                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083840831                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083840210                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083840180                 40            696048 JC-FQCF9N2       11/13/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083834085                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083833543                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083833143                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083833139                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083833101                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2083828543                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083828515                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083828506                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083828479                 40            696048 JC-FQCF9N2       11/14/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083815351                 40            696048 JC-FQCF9N2       11/15/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083815348                 40            696048 JC-FQCF9N2       11/15/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083744098                 40            696048 JC-HYJL7X2       11/21/2019 MGRYDER        M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083744096                 40            696048 JC-HYJL7X2       11/21/2019 MGRYDER        M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083681334                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083681261                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083679620                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083679310                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083679307                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083679197                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083679195                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083679192                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2083679092                 40            696048 JC-FQCF9N2       11/27/2019 BRICHARDSON    B                                  RICHARDSON      EDIT          Narrative            Source_Module_Link   984            868                 TN0900100            FALSE        FALSE        TRUE
      -2083625528                 40            696048 JC-HYJL7X2         12/3/2019 MGRYDER       M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2083625436                 40            696048 JC-HYJL7X2         12/3/2019 MGRYDER       M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083625388                 40            696048 JC-HYJL7X2         12/3/2019 MGRYDER       M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083625386                 40            696048 JC-HYJL7X2         12/3/2019 MGRYDER       M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083625383                 40            696048 JC-HYJL7X2         12/3/2019 MGRYDER       M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2083625357                 40            696048 JC-HYJL7X2         12/3/2019 MGRYDER       M                                  GRYDER          EDIT          Narrative            Source_Module_Link   868            1948                TN0900100            FALSE        FALSE        TRUE
      -2083458429                 40            696048 SBOWMAN-D        12/17/2019 SBOWMAN        S                                  BOWMAN          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2081781093                 40            696048 JC-8XMXN23          6/2/2020 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081709486                 40            696048 JC-FLPDDV2          6/9/2020 KPETERS       K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081566810                 40            696048 JC-D063DV2         6/24/2020 DHILTON       D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080051849                 40            696048 JC-HZ2Q7X2       11/30/2020 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_        UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2078999869                 40            696048 JC-D063DV2         3/24/2021 DHILTON      D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078999702                 40            696048 JC-D063DV2         3/24/2021 DHILTON      D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2078989273                 40            696048 JC-HZ2Q7X2         3/25/2021 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2078818779                 40            696048 JC-HZ2Q7X2         4/13/2021 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074192278                 40            696048 JC-D063DV2         6/30/2022 DHILTON      D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074192277                 40            696048 JC-D063DV2         6/30/2022 DHILTON      D                                  HILTON          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074192275                 40            696048 JC-D063DV2         6/30/2022 DHILTON      D                                  HILTON          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074152997                 40            696048 JC-5Y0CHQ2          7/5/2022 DTALLMADGE   D                                  TALLMADGE       Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074152335                 40            696048 JC-HL6MQG2          7/5/2022 SDYKES       S                                  DYKES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074151779                 40            696048 JC-FLPDDV2          7/5/2022 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151778                 40            696048 JC-FLPDDV2          7/5/2022 KPETERS      K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074149984                 40            696048 JC-D063DV2          7/5/2022 DHILTON      D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074149684                 40            696048 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074148800                 40            696048 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074148799                 40            696048 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074148448                 40            696048 JC-8XMXN23          7/5/2022 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148369                 40            696048 JC-8XMXN23          7/5/2022 JHAMES       J                                  HAMES           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074148166                 40            696048 JC-D063DV2          7/5/2022 DHILTON      D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129152                 40            696048 JC-FLPDDV2          7/7/2022 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129151                 40            696048 JC-FLPDDV2          7/7/2022 KPETERS      K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2073997573                 40            696048 JC-MXL94159CF      7/20/2022 DSHEPARD     D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072591828                 40            696048 SBOWMAN-D          12/7/2022 SBOWMAN      S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072277150                 40            696048 JC-8XMXN23         1/12/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072251245                 40            696048 JC-8XMXN23         1/14/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072235958                 40            696048 JC-8XMXN23         1/17/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072235641                 40            696048 JC-8XMXN23         1/17/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072234492                 40            696048 JC-HZ2Q7X2         1/17/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072207550                 40            696048 JC-8XMXN23         1/19/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072057836                 40            696048 JC-8XMXN23         1/31/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055984                 40            696048 JC-FLPDDV2         1/31/2023 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055150                 40            696048 JC-2TH34Z2         1/31/2023 dbible       Dawn                               Bible           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072047671                 40            696048 JC-8XMXN23          2/1/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072047644                 40            696048 JC-HL6MQG2          2/1/2023 SDYKES       S                                  DYKES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072045232                 40            696048 JC-FLPDDV2          2/1/2023 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072045125                 40            696048 JC-8XMXN23          2/1/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984664                 40            696048 JC-HZ2Q7X2          2/7/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071062759                 40            696048 JC-MXL94159CV      5/11/2023 SPROFFITT    S                                  PROFFITT        Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071060896                 40            696048 JC-HZ2Q7X2         5/11/2023 TSPARKS      T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2071060893                 40            696048 JC-HZ2Q7X2         5/11/2023 TSPARKS      T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2071060889                 40            696048 JC-HZ2Q7X2         5/11/2023 TSPARKS      T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2071060869                 40            696048 JC-HZ2Q7X2         5/11/2023 TSPARKS      T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1948           1968                TN0900100            FALSE        FALSE        TRUE
      -2071024852                 40            696048 JC-HZ2Q7X2         5/16/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071024851                 40            696048 JC-HZ2Q7X2         5/16/2023 TSPARKS      T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071018102                 40            696048 JC-D063DV2         5/17/2023 MGRYDER      M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071006616                 40            696048 JC-HZ2Q7X2         5/18/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070802057                 40            696048 JC-HZ2Q7X2         6/12/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070802050                 40            696048 JC-HZ2Q7X2         6/12/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070786563                 40            696048 JC-HZ2Q7X2         6/13/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070698538                 40            696048 JC-HZ2Q7X2         6/22/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070698029                 40            696048 JC-MXL9415LFT      6/22/2023 GWills       G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070698028                 40            696048 JC-MXL9415LFT      6/22/2023 GWills       G                                  WILLS           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070654175                 40            696048 JC-HZ2Q7X2         6/26/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070654174                 40            696048 JC-HZ2Q7X2         6/26/2023 TSPARKS      T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070645477                 40            696048 JC-HZ2Q7X2         6/27/2023 TSPARKS      T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2070645474                 40            696048 JC-HZ2Q7X2         6/27/2023 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2070645470                 40            696048 JC-HZ2Q7X2         6/27/2023 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2070645450                 40            696048 JC-HZ2Q7X2         6/27/2023 TSPARKS   T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1968           868                 TN0900100            FALSE        FALSE        TRUE
      -2070641525                 40            696048 JC-MXL9415LFT      6/28/2023 GWills    G                                  WILLS           EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2070641522                 40            696048 JC-MXL9415LFT      6/28/2023 GWills    G                                  WILLS           EDIT          NARRATIVE                                                                    TN0900100            TRUE          FALSE       TRUE
      -2070641518                 40            696048 JC-MXL9415LFT      6/28/2023 GWills    G                                  WILLS           EDIT          NARRATIVE                                                                    TN0900100            TRUE          FALSE       TRUE
      -2070641489                 40            696048 JC-MXL9415LFT      6/28/2023 GWills    G                                  WILLS           EDIT          Narrative            Confidential         0              1                   TN0900100            TRUE          FALSE       TRUE
      -2070641486                 40            696048 JC-MXL9415LFT      6/28/2023 GWills    G                                  WILLS           EDIT          Narrative            Source_Module_Link   868            1761                TN0900100            TRUE          FALSE       TRUE
      -2070566819                 40            696048 JC-MXL94159B6       7/5/2023 MADAMS    M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070556977                 40            696048 SBOWMAN-D           7/6/2023 SBOWMAN   S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244921                 40            696048 JC-HZ2Q7X2          8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244919                 40            696048 JC-HZ2Q7X2          8/8/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070165887                 40            696048 JC-HZ2Q7X2         8/17/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2068269869                 40            696048 JC-MXL9415LFT       3/5/2024 GWills    G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068209260                 40            696048 JC-3D2DNW3         3/12/2024 SBOWMAN   S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068129947                 40            696048 JC-MXL94159B6      3/21/2024 MADAMS    M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068129654                 40            696048 JC-MXL94159B6      3/21/2024 MADAMS    M                                  ADAMS           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2068126011                 40            696048 JC-MXL94159B6      3/21/2024 MADAMS    M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE




                                                                       Case 2:23-cv-00071-TRM-JEM Document 235-28 Filed 06/28/24 Page 22 of 28 PageID #:
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                         T SPARKS CASE NOTES




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                                     6628
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_        UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2078989235                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078989234                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          EDIT          Narrative            Source_Module_Link                  1948                TN0900100            FALSE        FALSE        TRUE
      -2078989233                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          Add           Narrative                                 Record Added                       TN0900100            FALSE        FALSE        TRUE
      -2078989208                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078989206                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2078989003                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078989002                 40            768548 JC-HZ2Q7X2        3/25/2021 TSPARKS       T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2078818780                 40            768548 JC-HZ2Q7X2        4/13/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078818445                 40            768548 JC-HZ2Q7X2        4/13/2021 TSPARKS       T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2078720596                 40            768548 JC-HZ2Q7X2        4/22/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078720413                 40            768548 JC-HZ2Q7X2        4/22/2021 TSPARKS       T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2078720412                 40            768548 JC-HZ2Q7X2        4/22/2021 TSPARKS       T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2078719482                 40            768548 JC-HZ2Q7X2        4/22/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078719480                 40            768548 JC-HZ2Q7X2        4/22/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078719209                 40            768548 JC-HZ2Q7X2        4/22/2021 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074192279                 40            768548 JC-D063DV2        6/30/2022 DHILTON       D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074192276                 40            768548 JC-D063DV2        6/30/2022 DHILTON       D                                  HILTON          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074152996                 40            768548 JC-5Y0CHQ2          7/5/2022 DTALLMADGE   D                                  TALLMADGE       Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074152336                 40            768548 JC-HL6MQG2          7/5/2022 SDYKES       S                                  DYKES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151777                 40            768548 JC-FLPDDV2          7/5/2022 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151776                 40            768548 JC-FLPDDV2          7/5/2022 KPETERS      K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074149985                 40            768548 JC-D063DV2          7/5/2022 DHILTON      D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074149685                 40            768548 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074149530                 40            768548 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2074149223                 40            768548 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148798                 40            768548 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148797                 40            768548 JC-HZ2Q7X2          7/5/2022 TSPARKS      T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074148373                 40            768548 JC-8XMXN23          7/5/2022 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148368                 40            768548 JC-8XMXN23          7/5/2022 JHAMES       J                                  HAMES           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074148127                 40            768548 JC-D063DV2          7/5/2022 DHILTON      D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129150                 40            768548 JC-FLPDDV2          7/7/2022 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129149                 40            768548 JC-FLPDDV2          7/7/2022 KPETERS      K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2072596793                 40            768548 JC-MXL9415FKT     12/7/2022 rpatsel       Rebecca                            Patsel          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072591829                 40            768548 SBOWMAN-D         12/7/2022 SBOWMAN       S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072276981                 40            768548 JC-8XMXN23        1/12/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072275537                 40            768548 JC-FLPDDV2        1/12/2023 KPETERS       K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072251246                 40            768548 JC-8XMXN23        1/14/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072235969                 40            768548 JC-8XMXN23        1/17/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072235702                 40            768548 JC-8XMXN23        1/17/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072234494                 40            768548 JC-HZ2Q7X2        1/17/2023 TSPARKS       T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072207552                 40            768548 JC-8XMXN23        1/19/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072207549                 40            768548 JC-8XMXN23        1/19/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072057842                 40            768548 JC-8XMXN23        1/31/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055549                 40            768548 JC-8XMXN23        1/31/2023 JHAMES        J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055221                 40            768548 JC-2TH34Z2        1/31/2023 dbible        Dawn                               Bible           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072047672                 40            768548 JC-8XMXN23          2/1/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072047666                 40            768548 JC-8XMXN23          2/1/2023 JHAMES       J                                  HAMES           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2072047665                 40            768548 JC-HL6MQG2          2/1/2023 SDYKES       S                                  DYKES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072045231                 40            768548 JC-FLPDDV2          2/1/2023 KPETERS      K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072045124                 40            768548 JC-8XMXN23          2/1/2023 JHAMES       J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984665                 40            768548 JC-HZ2Q7X2          2/7/2023 TSPARKS      T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984663                 40            768548 JC-HZ2Q7X2          2/7/2023 TSPARKS      T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071984662                 40            768548 JC-HZ2Q7X2          2/7/2023 TSPARKS      T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE



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                                                                                                        6629
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_      UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2071062760                 40            768548 JC-MXL94159CV   5/11/2023 SPROFFITT   S                                  PROFFITT        Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071061362                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071061356                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071061355                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071060895                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071060892                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071060888                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071060868                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1948           1968                TN0900100            FALSE        FALSE        TRUE
      -2071060864                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071060844                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071057863                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071057763                 40            768548 JC-HZ2Q7X2      5/11/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071024945                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071024938                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071024848                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071024847                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071024125                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071024070                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071024069                 40            768548 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071018515                 40            768548 JC-HZ2Q7X2      5/17/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071018510                 40            768548 JC-HZ2Q7X2      5/17/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071017919                 40            768548 JC-D063DV2      5/17/2023 MGRYDER     M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071016328                 40            768548 JC-HZ2Q7X2      5/17/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071016327                 40            768548 JC-HZ2Q7X2      5/17/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071016007                 40            768548 JC-HZ2Q7X2      5/17/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071008009                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071007972                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071007965                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071007962                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071007961                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071007960                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071006613                 40            768548 JC-HZ2Q7X2      5/18/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070970262                 40            768548 JC-HZ2Q7X2      5/23/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070969330                 40            768548 JC-HZ2Q7X2      5/23/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070916670                 40            768548 JC-HZ2Q7X2      5/30/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070916637                 40            768548 JC-HZ2Q7X2      5/30/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070916611                 40            768548 JC-HZ2Q7X2      5/30/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070910022                 40            768548 JC-HZ2Q7X2      5/30/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070909993                 40            768548 JC-HZ2Q7X2      5/30/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070902640                 40            768548 JC-HZ2Q7X2      5/31/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070902543                 40            768548 JC-HZ2Q7X2      5/31/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070902418                 40            768548 JC-HZ2Q7X2      5/31/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070894415                 40            768548 JC-HZ2Q7X2      5/31/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070894243                 40            768548 JC-HZ2Q7X2      5/31/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070894065                 40            768548 JC-HZ2Q7X2      5/31/2023 TSPARKS     T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070882080                 40            768548 JC-HZ2Q7X2        6/1/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070881546                 40            768548 JC-HZ2Q7X2        6/1/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070879449                 40            768548 JC-HZ2Q7X2        6/1/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070879447                 40            768548 JC-HZ2Q7X2        6/1/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070854204                 40            768548 JC-HZ2Q7X2        6/5/2023 GWills     G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070802058                 40            768548 JC-HZ2Q7X2      6/12/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070802051                 40            768548 JC-HZ2Q7X2      6/12/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070796357                 40            768548 JC-HZ2Q7X2      6/12/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2070796212                 40            768548 JC-HZ2Q7X2        6/12/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070786564                 40            768548 JC-HZ2Q7X2        6/13/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070698539                 40            768548 JC-HZ2Q7X2        6/22/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070698030                 40            768548 JC-MXL9415LFT     6/22/2023 GWills     G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070698026                 40            768548 JC-MXL9415LFT     6/22/2023 GWills     G                                  WILLS           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070693231                 40            768548 JC-HZ2Q7X2        6/22/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070654135                 40            768548 JC-HZ2Q7X2        6/26/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070654134                 40            768548 JC-HZ2Q7X2        6/26/2023 TSPARKS    T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070645476                 40            768548 JC-HZ2Q7X2        6/27/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070645473                 40            768548 JC-HZ2Q7X2        6/27/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070645469                 40            768548 JC-HZ2Q7X2        6/27/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070645449                 40            768548 JC-HZ2Q7X2        6/27/2023 TSPARKS    T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1968           868                 TN0900100            FALSE        FALSE        TRUE
      -2070641531                 40            768548 JC-MXL9415LFT     6/28/2023 GWills     G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070641524                 40            768548 JC-MXL9415LFT     6/28/2023 GWills     G                                  WILLS           EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2070641521                 40            768548 JC-MXL9415LFT     6/28/2023 GWills     G                                  WILLS           EDIT          NARRATIVE                                                                    TN0900100            TRUE         FALSE        TRUE
      -2070641517                 40            768548 JC-MXL9415LFT     6/28/2023 GWills     G                                  WILLS           EDIT          NARRATIVE                                                                    TN0900100            TRUE         FALSE        TRUE
      -2070641488                 40            768548 JC-MXL9415LFT     6/28/2023 GWills     G                                  WILLS           EDIT          Narrative            Confidential         0              1                   TN0900100            TRUE         FALSE        TRUE
      -2070641485                 40            768548 JC-MXL9415LFT     6/28/2023 GWills     G                                  WILLS           EDIT          Narrative            Source_Module_Link   868            1761                TN0900100            TRUE         FALSE        TRUE
      -2070566820                 40            768548 JC-MXL94159B6       7/5/2023 MADAMS    M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070556976                 40            768548 SBOWMAN-D           7/6/2023 SBOWMAN   S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070469954                 40            768548 JC-FFZ26X3        7/15/2023 MHOLLIS    M                                  HOLLIS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244920                 40            768548 JC-HZ2Q7X2          8/8/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070244388                 40            768548 JC-HZ2Q7X2          8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244355                 40            768548 JC-HZ2Q7X2          8/8/2023 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            TRUE         FALSE        TRUE
      -2070244320                 40            768548 JC-HZ2Q7X2          8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070165888                 40            768548 JC-HZ2Q7X2        8/17/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069900558                 40            768548 JC-2TH34Z2        9/13/2023 dbible     Dawn                               Bible           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069042905                 40            768548 JC-8XMXN23       12/13/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068269868                 40            768548 JC-MXL9415LFT       3/5/2024 GWills    G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068209257                 40            768548 JC-3D2DNW3        3/12/2024 SBOWMAN    S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068208569                 40            768548 JC-HL6MQG2        3/12/2024 SDYKES     S                                  DYKES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068129946                 40            768548 JC-MXL94159B6     3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068125994                 40            768548 JC-MXL94159B6     3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068125992                 40            768548 JC-MXL94159B6     3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068125989                 40            768548 JC-MXL94159B6     3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE




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                    M ADAMS CASE NOTES




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                                     6632
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2070566705                 40            906899 JC-MXL94159B6     7/5/2023 MADAMS    M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070566703                 40            906899 JC-MXL94159B6     7/5/2023 MADAMS    M                                  ADAMS           EDIT          Narrative            Source_Module_Link                  1761                TN0900100            TRUE         FALSE        TRUE
      -2070566702                 40            906899 JC-MXL94159B6     7/5/2023 MADAMS    M                                  ADAMS           Add           Narrative                                 Record Added                       TN0900100            TRUE         FALSE        TRUE
      -2070556975                 40            906899 SBOWMAN-D         7/6/2023 SBOWMAN   S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070469953                 40            906899 JC-FFZ26X3      7/15/2023 MHOLLIS    M                                  HOLLIS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070301593                 40            906899 JC-3D2DNW3        8/2/2023 SBOWMAN   S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244922                 40            906899 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070165889                 40            906899 JC-HZ2Q7X2      8/17/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070114195                 40            906899 JC-MXL94159B6   8/22/2023 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070110515                 40            906899 JC-MXL94159B6   8/23/2023 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069900559                 40            906899 JC-2TH34Z2      9/13/2023 dbible     Dawn                               Bible           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069042910                 40            906899 JC-8XMXN23     12/13/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068269867                 40            906899 JC-MXL9415LFT     3/5/2024 GWills    G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068209256                 40            906899 JC-3D2DNW3      3/12/2024 SBOWMAN    S                                  BOWMAN          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068208570                 40            906899 JC-HL6MQG2      3/12/2024 SDYKES     S                                  DYKES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068129945                 40            906899 JC-MXL94159B6   3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068129630                 40            906899 JC-MXL94159B6   3/21/2024 MADAMS     M                                  ADAMS           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2068125991                 40            906899 JC-MXL94159B6   3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068125988                 40            906899 JC-MXL94159B6   3/21/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE




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